      Case 3:06-cr-00008-ADC   Document 175   Filed 09/11/08   Page 1 of 1



1                          UNITED STATES DISTRICT COURT
2                             DISTRICT OF PUERTO RICO

3    UNITED STATES OF AMERICA,

4         Plaintiff,                          Crim. No. 06-008 (JAF)
5         v.
6
7    JUAN VAZQUEZ-MONSERRATE (03),

8         Defendant.



 9                                   O R D E R
10
11        Defendant’s case and order on appeal involve the district
12   court’s denial of crack retroactivity benefits under 18 U.S.C.
13   § 3582(c)(2). No excusable neglect or meritorious issue on appeal
14   has been presented to the court to prompt the validation of a late
15   appeal.
16        We have reviewed the record again.           Defendant’s sentence is
17   governed   by   a   120-month   statutory    mandatory     minimum      term   of
18   imprisonment for which the crack retroactivity amendments afford no
19   relief.

20        The request for a late appeal is DENIED.

21        IT IS SO ORDERED.

22        San Juan, Puerto Rico, this 11th day of September, 2008.

23                                          S/José Antonio Fusté
24                                           JOSE ANTONIO FUSTE
25                                       Chief U. S. District Judge
